                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )              CASE NO.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
JOHN MCDOWELL (8)                         )
_________________________________________ )

                                          ORDER

       THIS MATTER is before the Court sua sponte. The Court previously scheduled a

sentencing hearing for Defendant John McDowell for January 13, 2015. That hearing is

CONTINUED until further notice.

SO ORDERED.

 Signed: December 11, 2014




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